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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                          )
                                                   )              8:09CR79
                     Plaintiff,                    )
                                                   )
       vs.                                         )              ORDER
                                                   )
EDUARDO TORRES-SAMANIEGO,                          )
VERONICA SANCHEZ-MURILLO,                          )
JORGE MORA-SANCHEZ,                                )
HERACLIO CHAIDEZ-GUZMAN and                        )
SAUL CHAIDEZ-GUZMAN,                               )
                                                   )
                     Defendants.                   )


       This matter is before the court on the motions for an extension of time by defendants
Jorge Mora-Sanchez (Filing No. 63), Saul Chaidez-Guzman (Filing No. 64), and Eduardo
Torres-Samaniego (Filing No. 67). The moving defendants seek additional time in which
to file pretrial motions. Moving counsel represents that government's counsel has no
objection to the motions. Upon consideration, the motions will be granted and the pretrial
motion deadline will be extended as to all defendants in this matter.
       IT IS ORDERED:
       Mora-Sanchez's, Chaidez-Guzman's and Torres-Samaniego's motions (Filing Nos.
63, 64, and 67) are granted. All defendants in this matter are given until on or before
April 30, 2009, in which to file pretrial motions pursuant to the progression order. The ends
of justice have been served by granting such motions and outweigh the interests of the
public and the defendants in a speedy trial. The additional time arising as a result of the
granting of the motions, i.e., the time between April 7, 2009 and April 30, 2009, shall be
deemed excludable time in any computation of time under the requirement of the Speedy
Trial Act for the reason defendants' counsel require additional time to adequately prepare
the case, taking into consideration due diligence of counsel, and the novelty and complexity
of this case. The failure to grant additional time might result in a miscarriage of justice. 18
U.S.C. § 3161(h)(8)(A) & (B).
       DATED this 7th day of April, 2009.
                                                   BY THE COURT:
                                                   s/Thomas D. Thalken
                                                   United States Magistrate Judge
